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10               THE UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11
12    NOEMI RUSSO, an individual,    )    Case No.:
                                     )    COLLECTIVE ACTION
13                      Plaintiff,   )
14            vs.                    )    COMPLAINT FOR DAMAGES
                                     )
15                                        1. Failure to Pay Minimum Wage,
      JOAMAR, INC. dba CANDY CAT )
                                             29 U.S.C. § 206;
16    TOO, a California Corporation; )
                                          2. Failure to Pay Overtime Wages,
      SAUL PEREZ, an individual;     )
17                                           29 U.S.C. § 207;
      INDALECIO J. PEREZ, JR., an    )
                                          3. Unlawful Taking of Tips,
18    individual; DOE MANAGERS 1-3; )
                                             29 U.S.C. § 203;
      and DOES 4-10, inclusive,      )
19                                        4. Illegal Kickbacks, 29 C.F.R. §
                                     )
                                             531.35;
20                     Defendants.   )
                                          5. Forced Tip Sharing, 29 C.F.R. §
                                     )
21                                           531.35;
                                     )
                                          6. Failure to Pay Minimum Wage in
22                                   )
                                             Violation of Cal. Lab. Code §§ 1194
                                     )
23                                           & 1197;
                                     )
                                          7. Failure to Pay Overtime Wages in
24                                   )
                                             Violation of Cal. Lab. Code §§ 510,
                                     )
25                                           1194, & 1197;
                                     )
                                          8. Failure to Furnish Accurate Wage
26                                   )
                                             Statements, Cal. Lab. Code § 226;
                                     )
27                                        9. Waiting Time Penalties,
                                     )
                                             Cal. Lab. Code §§ 201-203;
28                                   )
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                                             )   10.Failure to Indemnify Business
 1
                                             )      Expenses in Violation of Cal. Lab.
 2                                           )      Code § 2802;
                                             )   11.Compelled Patronization of
 3
                                             )      Employer and/or Other Persons in
 4                                           )      Violation of Cal. Lab. Code § 450;
                                             )      and
 5
                                             )   12.Unfair Competition in Violation of
 6                                           )      Cal. Bus. & Prof. Code §§ 17200, et
                                             )      seq.
 7
                                             )
 8                                           )   DEMAND FOR JURY TRIAL
 9
10          Plaintiff NOEMI RUSSO (“Plaintiff”), individually and on behalf of all
11    others similarly situated, alleges the following upon information and belief, based
12    upon investigation of counsel, published reports, and personal knowledge:
13    I.    NATURE OF THE ACTION
14          1.     Plaintiff alleges causes of action against defendants JOAMAR, INC.
15    dba CANDY CAT TOO (“Defendant” or “Candy Cat Too”), a California
16    Corporation, SAUL PEREZ (“Defendant” or “S. Perez”), an individual,
17    INDALECIO J. PEREZ, JR. (“Defendant” or “J. Perez” or “Junior Perez”), an
18    individual, DOE MANAGERS 1-3, and DOES 4-10, inclusive (collectively,
19    “Defendants”) for damages due to Defendants evading the mandatory minimum
20    wage and overtime provisions of the Fair Labor Standards Act (“FLSA”), 29
21    U.S.C. §§ 201, et seq. and illegally absconding with Plaintiff’s tips.
22          2.     As a result of Defendants’ violations, Plaintiff seeks to recover all
23    tips kept by the employer, liquidated damages, interest, and attorneys’ fees and
24    costs pursuant to the FLSA.
25          3.     These causes of action arise from Defendants’ willful actions while
26    Plaintiff was employed by Defendants in the three (3) years prior to the filing of
27    this Complaint. During her time being employed by Defendants, Plaintiff was
28    denied minimum wage payments and denied overtime as part of Defendants’
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1    scheme to classify Plaintiff and other dancers/entertainers as “independent
 2    contractors.” As the Department of Labor explained in a recent Administrative
 3    Interpretation:
 4
                    Misclassification of employees as independent contractors is
 5                  found in an increasing number of workplaces in the United
 6                  States, in part reflecting larger restructuring of business
                    organizations. When employers improperly classify
 7                  employees as independent contractors, the employees may
 8                  not receive important workplace protections such as the
                    minimum wage, overtime compensation, unemployment
 9                  insurance, and workers’ compensation. Misclassification
10                  also results in lower tax revenues for government and an
                    uneven playing field for employers who properly classify
11                  their workers. Although independent contracting
12                  relationships can be advantageous for workers and
                    businesses, some employees may be intentionally
13
                    misclassified as a means to cut costs and avoid compliance
14                  with labor laws.1
15             As alleged in more detail below, that is exactly what Defendants are, and
16    were at all times relevant, doing.
17             4.     Plaintiff worked at Defendants’ principal place of business located at
18    6816 Winnetka Avenue, Canoga Park, California 91306.
19             5.     Defendants failed to pay Plaintiff minimum wages and overtime
20    wages for all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the
21    FLSA.
22             6.     Defendants’ conduct violates the FLSA, which requires non-exempt
23    employees to be compensated for their overtime work at a rate of one and one-
24    half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).
25    ///
26
27    1
            See DOL Admin. Interp. No. 2015-1, available at
28          http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.
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 1           7.    Furthermore, Defendants’ practice of failing to pay tipped
 2    employees pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum wage
 3    provision. See 29 U.S.C. § 206.
 4           8.    Plaintiff brings a collective action to recover the unpaid overtime
 5    compensation and minimum wage owed to her individually and on behalf of all
 6    other similarly situated employees, current and former, of Defendants in
 7    California. Members of the Collective Action are hereinafter referred to as
 8    “FLSA Class Members.”
 9           9.    As a result of Defendants’ violations, Plaintiff and the FLSA Class
10    Members seek to recover double damages for failure to pay minimum wage,
11    overtime liquidated damages, interest, and attorneys’ fees.
12    II.    VENUE AND JURISDICTION
13           10.   This Court has jurisdiction over the subject matter of this action
14    under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.SC. §
15    201, et seq. Plaintiff’s state law claims for relief are within the supplemental
16    jurisdiction of the Court pursuant to 28 U.S.C. § 1367(a).
17           11.   Venue is proper in this District because at least fifty (50) percent of
18    all known Defendants reside in Los Angeles County. Further, venue is proper in
19    this District because all or a substantial portion of the events forming the basis of
20    this action occurred in this District. Defendants’ club is located in this District
21    and Plaintiff worked in this District.
22           12.   Plaintiff has satisfied all conditions precedent, if any, to the filing of
23    this suit.
24    III.   PARTIES
25           13.   Plaintiff is an individual adult resident of the State of California.
26    Furthermore, Plaintiff was employed by Defendants and qualifies as an
27    “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
28    consent to this action is attached hereto as Exhibit 1.
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          14.    The FLSA Class Members are all current and former exotic
 2    dancers/entertainers who worked at Candy Cat Too located at 6816 Winnetka
 3    Avenue, Canoga Park, California 91306 at any time starting three (3) years
 4    before this Complaint was filed, up to the present.
 5          15.    Candy Cat Too is a California Corporation with its principal place of
 6    business at 6816 Winnetka Avenue, Canoga Park, California 91306. At all times
 7    mentioned herein, Candy Cat Too was an “employer” or “joint employer” of
 8    Plaintiff as defined by the FLSA, 29 U.S.C. § 203(d) and (g). Candy Cat Too
 9    may be served via its agent for service of process, S. Perez, at 6816 Winnetka
10    Avenue, Canoga Park, California 91306 or his residence.
11          16.    S. Perez was/is a main manager who executed the policies regarding
12    payment to dancers/entertainers and management of dancers/entertainers,
13    including Plaintiff. S. Perez is also the owner of Candy Cat Too and resides in
14    Los Angeles County, California.
15          17.    S. Perez acted directly or indirectly on behalf of Candy Cat Too,
16    and, at all times mentioned herein was an “employer” or “joint employer” of
17    Plaintiff within the meaning of the FLSA. He exerted operational and
18    management control over Candy Cat Too, including day to day management. He
19    was frequently present at, owned, directed, controlled and managed the
20    operations at Candy Cat Too. He also controlled the nature, pay structure, and
21    employment relationship of Plaintiff and the FLSA Class Members. S. Perez had
22    at all times relevant to this lawsuit, the authority to hire and fire employees at
23    Candy Cat Too, the authority to direct and supervise the work of employees, the
24    authority to sign on the business’ checking accounts, including payroll accounts,
25    and the authority to make decisions regarding employee compensation and
26    capital expenditures. Additionally, he was responsible for the day-to-day affairs
27    of Candy Cat Too. In particular, he was responsible for determining whether
28    Candy Cat Too complied with the FLSA.
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          18.    J. Perez was/is a main manager who executed the policies regarding
 2    payment to dancers/entertainers and management of dancers/entertainers,
 3    including Plaintiff. J. Perez is also the owner of Candy Cat Too and resides in
 4    Los Angeles County, California.
 5          19.    J. Perez acted directly or indirectly on behalf of Candy Cat Too, and,
 6    at all times mentioned herein was an “employer” or “joint employer” of Plaintiff
 7    within the meaning of the FLSA. He exerted operational and management control
 8    over Candy Cat Too, including day to day management. He was frequently
 9    present at, owned, directed, controlled and managed the operations at Candy Cat
10    Too. He also controlled the nature, pay structure, and employment relationship of
11    Plaintiff and the FLSA Class Members. J. Perez had at all times relevant to this
12    lawsuit, the authority to hire and fire employees at Candy Cat Too, the authority
13    to direct and supervise the work of employees, the authority to sign on the
14    business’ checking accounts, including payroll accounts, and the authority to
15    make decisions regarding employee compensation and capital expenditures.
16    Additionally, he was responsible for the day-to-day affairs of Candy Cat Too. In
17    particular, he was responsible for determining whether Candy Cat Too complied
18    with the FLSA.
19          20.    DOE MANAGERS 1-3 are the managers/owners who control the
20    policies and enforce the policies related to employment at Candy Cat Too.
21          21.    At all material times, Defendants have been an enterprise in
22    commerce or in the production of goods for commerce within the meaning of 29
23    U.S.C. § 203(r)(1) of the FLSA because they have had employees at their club
24    engaged in commerce their club which has travelled in interstate commerce.
25    Moreover, because of Defendants’ interrelated activities, they function in
26    interstate commerce. 29 U.S.C. § 203(s)(1).
27          22.    Furthermore, Defendants have had, and continue to have, an annual
28    gross business volume in excess of the statutory standard.
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 1          23.    At all material times during the three (3) years prior to the filing of
 2    this action, Defendants categorized all dancers/entertainers employed at Candy
 3    Cat Too as “independent contractors” and have failed and refused to pay wages
 4    or compensation to such dancers/entertainers. Plaintiff was an individual
 5    employee who engaged in commerce or in the production of goods for commerce
 6    as required by 29 USC §§ 206-207.
 7          24.    The true names, capacities or involvement, whether individual,
 8    corporate, governmental or associate, of the Defendants named herein as DOE
 9    MANAGERS 1 through 3 and DOES 4 through 10, inclusive are unknown to
10    Plaintiff who therefore sues said Defendants by such fictitious names. Plaintiff
11    prays for leave to amend this Complaint to show their true names and capacities
12    when the same have been finally determined. Plaintiff is informed and believes,
13    and upon such information and belief alleges thereon, that each of the Defendants
14    designated herein as DOE is negligently, intentionally, strictly liable or otherwise
15    legally responsible in some manner for the events and happenings herein referred
16    to, and negligently, strictly liable intentionally or otherwise caused injury and
17    damages proximately thereby to Plaintiff, as is hereinafter alleged.
18          25.    Plaintiff is informed and believes that, at all relevant times herein,
19    Defendants engaged in the acts alleged herein and/or condoned, permitted,
20    authorized, and/or ratified the conduct of its employees and agents, and other
21    Defendants and are vicariously or strictly liable for the wrongful conduct of its
22    employees and agents as alleged herein.
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1           26.   Plaintiff is informed and believes, and on that basis alleges that, each
 2    of the Defendants acted, in all respects pertinent to this action, as the agent or
 3    employee of each other, and carried out a joint scheme, business plan, or policy in
 4    all respect thereto and, therefore, the acts of each of these Defendants are legally
 5    attributable to the other Defendants, and that these Defendants, in all respects,
 6    acted as employer and/or joint employers of Plaintiff in that each of them
 7    exercised control over her wage payments and control over her duties.
 8           27.   Plaintiff is informed and believes, and on that basis alleges that, at all
 9    relevant times, each and every Defendant has been the agent, employee,
10    representative, servant, master, employer, owner, agent, joint venture, and alter
11    ego of each of the other and each was acting within the course and scope of his or
12    her ownership, agency, service, joint venture and employment.
13           28.   At all times mentioned herein, each and every Defendant was the
14    successor of the other and each assumes the responsibility for the acts and
15    omissions of all other Defendants.
16    IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
17                               (AGAINST ALL DEFENDANTS)
18           A.    FACTUAL ALLEGATIONS
19           29.   Defendants operate an adult-oriented entertainment facility located
20    at 6816 Winnetka Avenue, Canoga Park, California 91306. At all times
21    mentioned herein, Defendants were “employer(s)” or “joint employer(s)” of
22    Plaintiff.
23           30.   At all times during the four (4) years prior to the filing of the instant
24    action, Defendants categorized all dancers/entertainers employed by Defendants
25    as “independent contractors” and have failed and refused to pay wages to such
26    dancers.
27           31.   At all times relevant to this action, Defendants exercised a great deal
28    of operational and management control over the subject club, particularly in the
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1    areas of terms and conditions of employment applicable to dancers and
 2    entertainers.
 3           32.      Plaintiff began working as a dancer for Defendants in the prior three
 4    (3) years to the filing of this Complaint.
 5           33.      The primary duty of a dancer/entertainer is to dance and entertain
 6    customers, and give them a good experience. Specifically, a dancer/ entertainer
 7    performs stage and table dances, and entertains customers on an hourly basis.
 8           34.      Stated differently, dancers/entertainers dance on stage, perform table
 9    dances, and entertain customers in VIP rooms, all while nude or semi-nude.
10           35.      Plaintiff worked and performed at the adult-oriented entertainment
11    facility multiple shifts per week. Plaintiff was an integral part of Defendants’
12    business which operated solely as an adult-oriented entertainment facility
13    featuring nude or semi-nude female dancers/ entertainers.
14           36.      Defendants did not pay dancers/ entertainers on an hourly basis.
15           37.      Defendants exercised significant control over Plaintiff during her
16    shifts and would demand that Plaintiff work four (4) days a week and tell
17    Plaintiff what time she was permitted to leave.
18           38.      Defendants set prices for all VIP performances.
19           39.      Defendants set the daily cover charge for customers to enter the
20    facility and had complete control over which customers were allowed in the
21    facility.
22           40.      Defendants controlled music for Plaintiff’s performances.
23           41.      Defendants controlled the means and manner in which Plaintiff
24    could perform.
25           42.      Defendants placed Plaintiff on a schedule.
26           43.      Defendants had the authority to suspend, fine, fire, or otherwise
27    discipline entertainers for non-compliance with their rules regarding dancing.
28    ///
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          44.    Defendants actually suspended, fined, fired, or otherwise disciplined
  2    entertainers for non-compliance with their rules regarding dancing.
  3          45.    Although Defendant allowed dancers/entertainers to choose their
  4    own costumes, Defendants reserved the right to decide what a particular
  5    entertainer was allowed to wear on the premises. In order to comply with Candy
  6    Cat Too’s dress and appearance standards, Plaintiff typically expended
  7    approximately one (1) hour of time each shift getting ready for work without
  8    being paid any wages for such time getting ready.
  9          46.    Plaintiff was compensated exclusively through tips from Defendants'
 10    customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
 11    worked at their establishment.
 12          47.    Defendants also required Plaintiff to share her tips with Defendants
 13    and other non-service employees who do not customarily receive tips, including
 14    the managers, disc jockeys, and the bouncers.
 15          48.    Defendants are in violation of the FLSA’s tipped-employee
 16    compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
 17    tipped employee a minimum of $2.13 per hour. Defendants also violated 29
 18    U.S.C. § 203(m) when they failed to notify Plaintiff about the tip credit
 19    allowance (including the amount to be credited) before the credit was utilized.
 20    That is, Defendants’ exotic dancers/entertainers were never made aware of how
 21    the tip credit allowance worked or what the amounts to be credited were.
 22    Furthermore, Defendants violated 29 U.S.C. § 203(m) because they did not allow
 23    Plaintiff to retain all of her tips and instead required that she divide her tips
 24    amongst other employees who do not customarily and regularly receive tips.
 25    Because Defendants violated the tip-pool law, Defendants lose the right to take a
 26    credit toward minimum wage.
 27          49.    Defendants exercised significant control over Plaintiff through
 28    written and unwritten policies and procedures. Defendants had visibly posted in
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  1    the employees’ locker room the written employee rules for late arrivals and early
  2    leaves and the corresponding fees for which performers would be responsible.
  3          50.    Candy Cat Too provided and paid for all advertising and marketing
  4    efforts undertaken on behalf of Candy Cat Too.
  5          51.    Candy Cat Too paid for the building used by Candy Cat Too,
  6    maintenance of the facility, the sound system, stages, lights, beverage and
  7    inventory used at the facility.
  8          52.    Defendants made all hiring decisions regarding wait staff, security,
  9    entertainers, managerial and all other employees on the premises.
 10          53.    Candy Cat Too’s opportunity for profit and loss far exceeded
 11    Plaintiff’s opportunity for profit and loss from work at Candy Cat Too.
 12          54.    Nude dancing is an integral part of Candy Cat Too’s operations.
 13    Candy Cat Too’s advertising and logo prominently displays nude dancing for its
 14    customers. Candy Cat Too is well known as a “strip club.”
 15          55.    Candy Cat Too needs dancers/ entertainers to successfully and
 16    profitably operate the Candy Cat Too business model.
 17          56.    The position of dancer/entertainer requires no managerial skill of
 18    others.
 19          57.    The position of dancer/entertainer requires little other skill or
 20    education, formal or otherwise.
 21          58.    The only requirements to become an entertainer at Candy Cat Too
 22    are “physical attributes” and the ability to dance seductively. Plaintiff did not
 23    have a formal interview but instead was glanced over “up and down” and
 24    participated in a brief audition by the manager before being offered an
 25    employment opportunity. The amount of skill required is more akin to an
 26    employment position than that of a typical independent contractor. Defendants do
 27    not require prior experience as an entertainer or any formal dance training as a
 28    job condition or prerequisite to employment. Defendants do not require the
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1    submission of an application or a resume as part of the hiring process. In fact,
  2    Plaintiff has little or no formal dance training and experience before auditioning
  3    to dance at Candy Cat Too.
  4          59.    Defendants failed to maintain records of wages, fines, fees, tips and
  5    gratuities and/or service charges paid or received by dancers/entertainers.
  6          60.    Plaintiff was not paid an hourly minimum wage or any hourly wage
  7    or salary despite being present at Defendants’ facility and required to work and
  8    entertain its customers at any time during an eight-plus (8+) hour work shift.
  9          61.    Plaintiff was not paid overtime wages at one-and-a-half (1½) times
 10    the regular minimum wage rate for any hours worked despite being present at
 11    Defendants’ facility and required to work and entertain its customers for longer
 12    than eight (8) hours per shift.
 13          62.    Plaintiff was not paid an hourly minimum wage for the typical one
 14    (1) hour of time expended prior to each shift to get ready for work, including
 15    applying makeup and hair, and to comply with Defendants’ dress and appearance
 16    standards. Plaintiff estimates that she spent approximately five hundred U.S.
 17    Dollars ($500.00) annually on makeup, hair-related expenses, and outfits.
 18          63.    Plaintiff was not paid an hourly minimum wage for the time she was
 19    required to wait at Candy Cat Too until the premises and the parking lot were
 20    cleared of customers.
 21          64.    The FLSA Class Members had the same pay structure and were
 22    under the same controls as Plaintiff.
 23          65.    Plaintiff and FLSA Class Members would work over forty (40)
 24    hours in some weeks each worked for Defendants.
 25          66.    Defendants have never paid Plaintiff and FLSA Class Members any
 26    amount as wages whatsoever, and have instead unlawfully required Plaintiff and
 27    FLSA Class Members to pay them for the privilege of working.
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          67.    The only source of monies received by Plaintiff (and the class she
  2    seeks to represent) relative to her employment with Defendants came in the form
  3    of gratuities received directly from customers, a portion of which Plaintiff and
  4    the FLSA Class Members were required to pay to Defendants.
  5          68.    Although Plaintiff and FLSA Class Members are required to and do
  6    in fact frequently work more than forty (40) hours per workweek, they are not
  7    compensated at the FLSA mandated time-and-a-half (1 ½) rate for hours in
  8    excess of forty (40) per workweek. In fact, they receive no compensation
  9    whatsoever from Defendants and thus, Defendants violate the minimum wage
 10    requirement of FLSA. See 29 U.S.C. § 206.
 11          69.    Defendants’ method of paying Plaintiff in violation of the FLSA was
 12    willful and was not based on a good faith and reasonable belief that its conduct
 13    complied with the FLSA. Defendants misclassified Plaintiff with the sole intent
 14    to avoid paying her in accordance to the FLSA; the fees and fines described
 15    herein constitute unlawful “kickbacks” to the employer within the meaning of the
 16    FLSA, and Plaintiff is entitled to restitution of such fines and fees.
 17          70.    Plaintiff and the FLSA Class Members who worked at Candy Cat
 18    Too performed precisely the same job duties - dancing and entertaining at Candy
 19    Cat Too.
 20          71.    Plaintiff and the FLSA Class Members who worked at Candy Cat
 21    Too during the applicable limitations period(s) were subject to the same work
 22    rules established by the Defendants as identified above.
 23          72.    Plaintiff and the FLSA Class Members at Candy Cat Too were
 24    subject to the terms and conditions of employment and the same degree of
 25    control, direction, supervision, promotion and investment imposed or performed
 26    by Defendants.
 27    ///
 28    ///
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  1             73.   Plaintiff and the FLSA Class Members at Candy Cat Too during the
  2    applicable limitations period(s) were subject to the same across-the-board,
  3    uniformly applied corporate policy mandated by Defendants.
  4             74.   Plaintiff and the FLSA Class Members at Candy Cat Too, during the
  5    applicable limitations period, were subject to the same fees and fines imposed by
  6    Defendants.
  7             75.   As a result of Defendants’ across-the-board, standard operating
  8    procedure of mischaracterizing dancers/entertainers as “independent contractors”
  9    and their consequent failure to pay any wages or compensation whatsoever, it is a
 10    certainty that numerous other current and former dancers and entertainers who
 11    worked at Candy Cat Too during the applicable limitations period would elect to
 12    participate in this action if provided notice of same.
 13             76.   Upon information and belief, more than one hundred (100) dancers
 14    and entertainers have worked at Candy Cat Too during the three (3) to five (5)
 15    years prior to the filing of this action.
 16             77.   Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of
 17    persons she seeks to represent, and will adequately represent the interests of the
 18    class.
 19             78.   Plaintiff has hired Counsel experienced in class actions and in
 20    collective actions under 29 U.S.C. § 216(b) who will adequately represent the
 21    class.
 22             79.   Defendants failed to keep records of tips, gratuities and/or service
 23    charges paid to Plaintiff or any other dancer/entertainer and failed to maintain
 24    and furnish wage statements to Plaintiff.
 25             80.   Federal law mandates that an employer is required to keep for three
 26    (3) years all payroll records and other records containing, among other things, the
 27    following information:
 28    ///
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  1          a.    The time of day and day of week on which the employees’ work
  2                week begins;
  3          b.    The regular hourly rate of pay for any workweek in which overtime
  4                compensation is due under section 7(a) of the FLSA;
  5          c.    An explanation of the basis of pay by indicating the monetary
  6                amount paid on a per hour, per day, per week, or other basis;
  7          d.    The amount and nature of each payment which, pursuant to
  8                section 7(e) of the FLSA, is excluded from the “regular rate”;
  9          e.    The hours worked each workday and total hours worked each
 10                workweek;
 11          f.    The total daily or weekly straight time earnings or wages due for
 12                hours worked during the workday or workweek, exclusive of
 13                premium overtime compensation;
 14          g.    The total premium for overtime hours. This amount excludes the
 15                straight-time earnings for overtime hours recorded under this section;
 16          h.    The total additions to or deductions from wages paid each pay period
 17                including employee purchase orders or wage assignments;
 18          i.    The dates, amounts, and nature of the items which make up the total
 19                additions and deductions;
 20          j.    The total wages paid each pay period; and
 21          k.    The date of payment and the pay period covered by payment.
 22    29 C.F.R. 516.2, 516.5.
 23          81.   Defendants have not complied with federal law and have failed to
 24    maintain such records with respect to Plaintiff and the FLSA Class Members.
 25    Because Defendants’ records are inaccurate and/or inadequate, Plaintiff and the
 26    FLSA Class Members can meet their burden under the FLSA by proving that
 27    they, in fact, performed work for which they were improperly compensated, and
 28    produce sufficient evidence to show the amount and extent of their work “as a
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  1    matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
  2    Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on
  3    notice that she intends to rely on Anderson to provide the extent of her unpaid
  4    work.
  5            B.    INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
  6            82.   In Boucher v. Shaw, 572 F.3d 1087 (9th Cir. 2009), the U.S. Court
  7    of Appeals for the Ninth Circuit held that individuals can be liable for FLSA
  8    violations under an expansive interpretation of “employer.” Id. at 1088. The
  9    FLSA defines “employer” as “any person acting directly or indirectly in the
 10    interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The
 11    Ninth Circuit stated that the definition of “employer” under FLSA is not limited
 12    by the common law concept of “employer” but “is to be given an expansive
 13    interpretation in order to effectuate the FLSA’s broad remedial purposes.”
 14            83.   Where an individual exercises “control over the nature and structure
 15    of the employment relationship,” or “economic control” over the relationship,
 16    that individual is an employer within the meaning of the FLSA, and is subject to
 17    liability. Lambert v. Ackerley, 180 F.3d 997 (9th Cir. 1999). The Ninth Circuit
 18    highlighted factors related to “economic control,” which included ownership
 19    interest, operational control of significant aspects of the day-to-day functions, the
 20    power to hire and fire employees, determine salaries, and the responsibility to
 21    maintain employment records.
 22            84.   S. Perez and J. Perez are individually liable for failing to pay
 23    Plaintiff her wages. The actual identities of DOE MANAGERS 1 through 3 and
 24    DOES 4 through 10 are unknown at this time.
 25    V.      COLLECTIVE ACTION ALLEGATIONS
 26            85.   Plaintiff hereby incorporates by reference and re-alleges each and
 27    every allegation set forth in each and every preceding paragraph as though fully
 28    set forth herein.
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  1          86.    Plaintiff brings this action as an FLSA collective action pursuant to
  2    29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
  3    Defendants as exotic dancers/entertainers at any time during the three (3) years
  4    prior to the commencement of this action to present.
  5          87.    Plaintiff has actual knowledge that the FLSA Class Members have
  6    also been denied overtime pay for hours worked over forty (40) hours per
  7    workweek and have been denied pay at the federally mandated minimum wage
  8    rate. That is, Plaintiff worked with other dancers at Candy Cat Too. As such, she
  9    has firsthand personal knowledge of the same pay violations throughout
 10    Defendants’ club. Furthermore, other exotic dancers/entertainers at Defendants’
 11    club Candy Cat Too have shared with her similar pay violation experiences as
 12    those described in this Complaint.
 13          88.    Other employees similarly situated to the Plaintiff work or have
 14    worked at Candy Cat Too but were not paid overtime at the rate of one and one-
 15    half (1½) their regular rate when those hours exceeded forty (40) hours per
 16    workweek. Furthermore, these same employees were denied pay at the federally
 17    mandated minimum wage rate.
 18          89.    Although Defendants permitted and/or required the FLSA Class
 19    Members to work in excess of forty (40) hours per workweek, Defendants have
 20    denied them full compensation for their hours worked over forty (40).
 21    Defendants have also denied them full compensation at the federally mandated
 22    minimum wage rate.
 23          90.    FLSA Class Members perform or have performed the same or
 24    similar work as the Plaintiff.
 25          91.    FLSA Class Members regularly work or have worked in excess of
 26    forty (40) hours during a workweek.
 27          92.    FLSA Class Members regularly work or have worked and did not
 28    receive minimum wage.
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  1          93.    FLSA Class Members are not exempt from receiving overtime
  2    and/or pay at the federally mandated minimum wage rate under the FLSA.
  3          94.    As such, FLSA Class Members are similar to Plaintiff in terms of
  4    job duties, pay structure, misclassification as independent contractors and/or the
  5    denial of overtime and minimum wage.
  6          95.    Defendants’ failure to pay overtime compensation and hours worked
  7    at the minimum wage rate required by the FLSA results from generally
  8    applicable policies or practices, and does not depend on the personal
  9    circumstances of the FLSA Class Members.
 10          96.    The experiences of the Plaintiff, with respect to her pay, are typical
 11    of the experiences of the FLSA Class Members.
 12          97.    The specific job titles or precise job responsibilities of each FLSA
 13    Class Member does not prevent collective treatment.
 14          98.    All FLSA Class Members, irrespective of their particular job
 15    requirements, are entitled to overtime compensation for hours worked in excess
 16    of forty (40) during a workweek.
 17          99.    All FLSA Class Members, irrespective of their particular job
 18    requirements, are entitled to compensation for hours worked at the federally
 19    mandated minimum wage rate.
 20          100. Although the exact number of damages may vary among FLSA
 21    Class Members, the damages for the FLSA Class Members can be easily
 22    calculated by a simple formula. The claims of all FLSA Class Members arise
 23    from a common nucleus of facts. Liability is based on a systematic course of
 24    wrongful conduct by the Defendant that caused harm to all FLSA Class
 25    Members.
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          101. As such, Plaintiff brings her FLSA claims as a collective action on
  2    behalf of the following class:
  3                 All of Defendants’ current and former exotic
  4                 dancers/entertainers who worked at the Candy Cat
  5                 Too located in Canoga Park, California at any time
  6                 starting three (3) years before this Complaint was
  7                 filed.
  8    VI.    CAUSES OF ACTION
  9                              FIRST CAUSE OF ACTION
 10     FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206
 11                (By Plaintiff Individually and on Behalf of the Collective
 12                                 Against All Defendants)
 13          102. Plaintiff hereby incorporates by reference and re-alleges each and
 14    every allegation set forth in each and every preceding paragraph as though fully
 15    set forth herein.
 16          103. Defendants are engaged in “commerce” and/or in the production of
 17    “goods” for “commerce” as those terms are defined in the FLSA.
 18          104. Defendants operate an enterprise engaged in commerce within the
 19    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 20    in commerce, and because its annual gross volume of sales made is more than
 21    five hundred thousand U.S. Dollars ($500,000).
 22          105. Defendants failed to pay Plaintiff the minimum wage in violation of
 23    29 U.S.C. § 206.
 24          106. Based upon the conduct alleged herein, Defendants knowingly,
 25    intentionally and willfully violated the FLSA by not paying Plaintiff the
 26    minimum wage under the FLSA.
 27          107. Throughout the relevant period of this lawsuit, there is no evidence
 28    that Defendants’ conduct that gave rise to this action was in good faith and based
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  1    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
  2    after they learned that their misclassification scheme and compensation policies
  3    were illegal.
  4          108. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
  5    from Defendants, minimum wage compensation and an equal amount in the form
  6    of liquidated damages, as well as reasonable attorneys’ fees and costs of the
  7    action, including interest, pursuant to 29 U.S.C. § 216(b).
  8                            SECOND CAUSE OF ACTION
  9    FAILURE TO PAY OVERTIME WAGES PURSUANT TO THE FLSA, 29 U.S.C. § 207
 10                (By Plaintiff Individually and on Behalf of the Collective
 11                                 Against All Defendants)
 12          109. Plaintiff hereby incorporates by reference and re-alleges each and
 13    every allegation set forth in each and every preceding paragraph as though fully
 14    set forth herein.
 15          110. Each Defendant is an “employer” or “joint employer” of Plaintiff
 16    within the meaning of the FLSA, 29 U.S.C. § 203(d).
 17          111. Defendants are engaged in “commerce” and/or in the production of
 18    “goods” for “commerce” as those terms are defined in the FLSA.
 19          112. Defendants operate an enterprise engaged in commerce within the
 20    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 21    in commerce, and because its annual gross volume of sales made is more than five
 22    hundred thousand U.S. Dollars ($500,000.00).
 23          113. Defendants failed to pay Plaintiff the applicable overtime wage for
 24    each hour in excess of forty (40) during each workweek in which she worked in
 25    violation of 29 U.S.C. § 207.
 26          114. Based upon the conduct alleged herein, Defendants knowingly,
 27    intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
 28    wage required under the FLSA.
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  1            115. Throughout the relevant period of this lawsuit, there is no evidence
  2    that Defendants’ conduct that gave rise to this action was in good faith and based
  3    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
  4    after they learned that their misclassification scheme and compensation policies
  5    were unlawful.
  6            116. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
  7    from Defendants, overtime wage compensation and an equal amount in the form
  8    of liquidated damages, as well as reasonable attorneys’ fees and costs of the
  9    action, including interest, pursuant to 29 U.S.C. § 216(b).
 10                              THIRD CAUSE OF ACTION
 11          UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
 12                (By Plaintiff Individually and on Behalf of the Collective
 13                                 Against All Defendants)
 14            117. Plaintiff hereby incorporates by reference and re-alleges each and
 15    every allegation set forth in each and every preceding paragraph as though fully
 16    set forth herein.
 17            118. Plaintiff customarily and regularly received more than thirty U.S.
 18    Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
 19    the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
 20            119. At all relevant times, each Defendant is an “employer” or joint
 21    employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
 22            120. Defendants are engaged in “commerce” and/or in the production of
 23    “goods” for “commerce” as those terms are defined in the FLSA.
 24            121. Defendants operate an enterprise engaged in commerce within the
 25    meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 26    in commerce, and because its annual gross volume of sales made is more than five
 27    hundred thousand U.S. Dollars ($500,000).
 28    ///
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  1          122. Under TIPA:
  2                 [a]n employer may not keep tips received by its
                    employees for any purpose including allowing managers
  3                 or supervisors to keep any portion of employees’ tips,
  4                 regardless of whether or not it takes a tip credit.
  5          29 U.S.C. § 203.
  6          123. Defendants kept a portion of tips paid to Plaintiff by Defendants’
  7    customers in the form of fees, fines, mandatory charges and other payments to
  8    management, house moms, disc jockeys, and floor men in violation of TIPA.
  9          124. Defendants required Plaintiff to participate in an illegal tip pool,
 10    which included employees who do not customarily and regularly receive tips, and
 11    do not have more than a de minimis, if any, interaction with customers leaving the
 12    tips (such as the Club DJs, security, and management). See U.S. Dep’t of Labor,
 13    Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
 14    Labor Standards Act (FLSA).”
 15          125. The contribution the Defendants required Plaintiff to make after each
 16    shift was arbitrary and capricious and the distribution was not agreed to by
 17    Plaintiff other dancers; but rather, was imposed upon Plaintiff and other dancers.
 18          126. By requiring Plaintiff to pool her tips with club management,
 19    including the individual Defendants named herein, Defendants “retained” a
 20    portion of the tips received by Plaintiff in violation of the FLSA.
 21          127. Defendants did not make any effort, let alone a “good faith” effort, to
 22    comply with the FLSA as it relates to compensation owed to Plaintiff.
 23          128. At the time of their illegal conduct, Defendants knew or showed
 24    reckless disregard that the tip-pool which they required Plaintiff to contribute
 25    included non-tipped employees and, therefore, was statutorily illegal. In spite of
 26    this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
 27    the tips to which she was entitled.
 28    ///
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  1          129. Defendants’ willful failure and refusal to pay Plaintiff the tips she
  2    earned violates the FLSA.
  3          130. Defendants kept a portion of tips paid to Plaintiff by Defendants’
  4    customers in the form of fees, fines, mandatory charges and other payments to
  5    management, house moms, disc jockeys, and door men in violation of TIPA.
  6          131. As a result of the acts and omissions of the Defendants as alleged
  7    herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
  8    damages in the form of all misappropriated tips, plus interest; as liquated
  9    damages, an amount equal to all misappropriated tips, mandatory attorneys’ fees,
 10    costs, and expenses.
 11                            FOURTH CAUSE OF ACTION
 12                        ILLEGAL KICKBACKS, 29 C.F.R. § 531.35
 13                (By Plaintiff Individually and on Behalf of the Collective
 14                                 Against All Defendants)
 15          132. Plaintiff hereby incorporates by reference and re-alleges each and
 16    every allegation set forth in each and every preceding paragraph as though fully
 17    set forth herein.
 18          133. Defendants required Plaintiff to pay monetary fees to Defendants
 19    and other Candy Cat Too employees who did not work in positions that are
 20    customarily and regularly tipped, in violation of 29 U.S.C. § 203(m).
 21          134. Defendants’ requirement that Plaintiff pay fees to Defendants and
 22    other Candy Cat Too employees violated the “free and clear” requirement of 29
 23    C.F.R. § 531.35.
 24          135. Because Defendants violated the “free and clear” requirement of 29
 25    C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
 26    credit provision with respect to Plaintiffs’ wages.
 27    ///
 28    ///
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  1          136. Because Defendants violated the “free and clear” requirement of 29
  2    C.F.R. § 531.35, all monetary fees imposed on Plaintiff are classified as illegal
  3    kickbacks.
  4          137. Plaintiff is entitled to recover from Defendants all fees that
  5    Defendants required Plaintiff to pay in order to work at Candy Cat Too,
  6    involving but not limited to house fees.
  7                              FIFTH CAUSE OF ACTION
  8                           FORCED TIPPING, 29 C.F.R. § 531.35
  9                 (By Plaintiff Individually and on Behalf of the Collective
 10                                 Against All Defendants)
 11          138. Plaintiff hereby incorporates by reference and re-alleges each and
 12    every allegation set forth in each and every preceding paragraph as though fully
 13    set forth herein.
 14          139. Defendants required Plaintiff to pay monetary fees to other Candy
 15    Cat Too employees who did not work in positions that are customarily and
 16    regularly tipped, in violation of 29 U.S.C. § 203(m).
 17          140. Defendants’ requirement that Plaintiff pay fees to other Candy Cat
 18    Too employees violated the “free and clear” requirement of 29 C.F.R. § 531.35.
 19          141. Because Defendants violated the “free and clear” requirement of 29
 20    C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
 21    credit provision with respect to Plaintiff’s wages.
 22          142. Plaintiff is entitled to recover from Defendants all fees that
 23    Defendants required Plaintiff to pay other employees in order to work at Candy
 24    Cat Too, involving but not limited to forced tip sharing.
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                                SIXTH CAUSE OF ACTION
  2          FAILURE TO PAY MINIMUM WAGE UNDER CAL. LAB. CODE §§ 1194 & 1197
  3                     (By Plaintiff Individually Against All Defendants)
  4             143. Plaintiff hereby incorporates by reference and re-alleges each and
  5    every allegation set forth in each and every preceding paragraph as though fully
  6    set forth herein.
  7             144. Plaintiff alleges, on the basis of information and belief, that
  8    Defendants, from the time the applicable statute of limitations begins to the
  9    present time, have engaged in the regular practice of requiring or permitting
 10    Plaintiff to work without paying her the legal minimum wage at all times.
 11             145. Section 2(K) of IWC Wage Order 5 and section 5(H) of IWC Wage
 12    Order 10 define “hours worked” as “the time during which an employee is subject
 13    to the control of the employer, [which] includes all the time the employee is
 14    suffered or permitted to work, whether or not required to do so.” An employer
 15    must pay its employees for all “hours worked.”
 16             146. Defendants did not pay wages for any of the time that they controlled
 17    Plaintiff and/or permitted her to work.
 18             147. Plaintiff is not exempt from the minimum wage requirements under
 19    California law.
 20             148. Defendants failed to accurately pay Plaintiff the required legal
 21    minimum wage and compensation for all hours worked, in violation of Cal. Lab.
 22    Code §§ 204, 210, 216, 558, 1194, 1194.12, 1197 and applicable IWC Wage
 23    Order(s).
 24    ///
 25    ///
 26    ///
 27    ///
 28    ///
               COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          149. Defendants, and each of them, individually or by and through their
  2    respective officers, directors and managing agents, ordered, authorized, approved
  3    or ratified the conduct herein alleged with the intent to deprive Plaintiff
  4    compensation and benefits to which she is, and was, entitled under California law,
  5    so as to increase Defendants’ profits at the expense of the health and welfare of
  6    their employees, contrary to public policy and clear statutory obligations.
  7          150. As a result of the actions of Defendants in failing and refusing to pay
  8    the minimum wages required by law, Plaintiff was damaged by not receiving
  9    compensation which she should have received, but did not receive. Plaintiff is
 10    therefore entitled to compensation in an amount to be proven at trial for unpaid
 11    wages, pre-judgment interest, penalties, attorneys’ fees and costs pursuant to Cal.
 12    Lab. Code § 1194 and other applicable statutes.
 13                            SEVENTH CAUSE OF ACTION
 14                  FAILURE TO PAY OVERTIME WAGES IN VIOLATION OF
 15                          CAL. LAB. CODE §§ 510, 1194, & 1197
 16                   (By Plaintiff Individually Against All Defendants)
 17          151. Plaintiff hereby incorporates by reference and re-alleges each and
 18    every allegation set forth in each and every preceding paragraph as though fully
 19    set forth herein.
 20          152. At all relevant times, Plaintiff has been a non-exempt employee of
 21    Defendants and is entitled to the full protections of the California Labor Code and
 22    of the applicable IWC Wage Order(s).
 23          153. Cal. Lab. Code § 1198 makes it unlawful for an employer to employ
 24    any person under conditions of employment that violate the Wage Order.
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          154. Section 2(K) of IWC Wage Order 5 and section 2(H) of IWC Wage
  2    Order 10 define “hours worked” as “the time during which an employee is subject
  3    to the control of the employer, [which] includes all the time the employee is
  4    suffered or permitted to work, whether or not required to do so.” An employer
  5    must pay its employees for all “hours worked.”
  6          155. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
  7    require employers to pay overtime wages to their non-exempt employees at no
  8    less than one and one-half (1 ½) times their regular rates of pay for all hours
  9    worked in excess of eight (8) hours in one workday, all hours worked in excess of
 10    forty (40) hours in one workweek, and for the first eight (8) hours worked on a
 11    seventh consecutive workday.
 12          156. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
 13    also require employers to pay overtime wages to their non-exempt employees at
 14    no less than two (2) times their regular rates of pay for all hours worked in excess
 15    of twelve (12) hours in one workday, and for all hours worked in excess of eight
 16    (8) hours on a seventh consecutive workday.
 17          157. At relevant times during their employment, Defendants failed to pay
 18    Plaintiff overtime wages for overtime hours worked.
 19          158. Pursuant to Cal. Lab. Code § 1194, Plaintiff seeks recovery of all
 20    unpaid overtime wages, interest thereon, costs of suit, and reasonable attorneys’
 21    fees, all in amounts subject to proof.
 22                             EIGHTH CAUSE OF ACTION
 23                  FAILURE TO FURNISH ACCURATE WAGE STATEMENTS,
 24                             CAL. LAB. CODE §§ 226, ET. SEQ.
 25                   (By Plaintiff Individually Against All Defendants)
 26          159. Plaintiff hereby incorporates by reference and re-alleges each and
 27    every allegation set forth in each and every preceding paragraph as though fully
 28    set forth herein.
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  1          160. Cal. Lab Code § 226(a) mandates that “[e]very employer shall,
  2    semimonthly or at the time of each payment of wages, furnish each of his or her
  3    employees, either as a detachable part of the check, draft, or voucher paying the
  4    employee’s wages, or separately when wages are paid by personal check or cash,
  5    an accurate itemized statement in writing showing (1) gross wages earned, (2)
  6    total hours worked by the employee, except for any employee whose
  7    compensation is solely based on a salary and who is exempt from payment of
  8    overtime under subdivision (a) of Section 515 or any applicable order of the
  9    Industrial Welfare Commission, (3) the number of piece-rate units earned and any
 10    applicable piece rate if the employee is paid on a piece-rate basis, (4) all
 11    deductions, provided that all deductions made on written orders of the employee
 12    may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive
 13    dates of the period for which the employee is paid, (7) the name of the employee
 14    and only the last four digits of his or her social security number or an employee
 15    identification number other than a social security number, (8) the name and
 16    address of the legal entity that is the employer and, if the employer is a farm labor
 17    contractor, as defined in subdivision (b) of Section 1682, the name and address of
 18    the legal entity that secured the services of the employer, and (9) all applicable
 19    hourly rates in effect during the pay period and the corresponding number of
 20    hours worked at each hourly rate by the employee and, beginning July 1, 2013, if
 21    the employer is a temporary services employer as defined in Section 201.3, the
 22    rate of pay and the total hours worked for each temporary services assignment.”
 23    (Emphasis added.)
 24          161. Pursuant to Cal. Lab. Code § 226(e)(2)(B), “an employee is deemed
 25    to suffer injury for purposes of this subdivision if the employer fails to provide
 26    accurate and complete information as required by any one or more of items”
 27    identified above.
 28    ///
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  1           162. As alleged in Plaintiff’s causes of action, Defendants, and each of
  2    them, regularly failed to compensate Plaintiff for all of her overtime hours
  3    worked, as well as for her missed meal and rest breaks.
  4           163. Furthermore, Defendants did not regularly furnished wage statements
  5    that identified the inclusive dates for that wage statement, in violation of Cal. Lab.
  6    Code §§ 226, et seq.
  7           164. Pursuant to Cal. Lab. Code § 226, Plaintiff seeks damages, costs of
  8    suit, and reasonable attorneys’ fees in an amount to be proven at the time of trial.
  9                              NINTH CAUSE OF ACTION
 10                 WAITING TIME PENALTIES, CAL. LAB. CODE §§ 201-203
 11                   (By Plaintiff Individually Against All Defendants)
 12           165. Plaintiff hereby incorporates by reference and re-alleges each and
 13    every allegation set forth in each and every preceding paragraph as though fully
 14    set forth herein.
 15           166. At all times relevant herein, Defendants were required to pay their
 16    employees all wages owed in a timely fashion during and at the end of their
 17    employment, pursuant to Cal. Lab. Code §§ 201–203.
 18           167. As a pattern and practice, Defendants regularly failed to pay Plaintiff
 19    her final wages pursuant to Cal. Lab. Code §§ 201–203, and accordingly owe
 20    waiting time penalties pursuant to Cal. Lab. Code § 203.
 21           168. The conduct of Defendants and their agents and managerial
 22    employees as described herein was willful, and in violation of the rights of
 23    Plaintiff.
 24           169. Plaintiff is informed and believes, and on that basis alleges, that
 25    Defendants’ willful failure to pay wages due and owed to her upon separation
 26    from employment results in a continued payment of wages up to thirty (30) days
 27    from the time the wages were due. Therefore, Plaintiff is entitled to compensation
 28    pursuant to Cal. Lab. Code § 203.
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                               TENTH CAUSE OF ACTION
  2             FAILURE TO INDEMNIFY BUSINESS EXPENSES IN VIOLATION OF
  3                                    CAL. LAB. CODE § 2802
  4                    (By Plaintiff Individually Against All Defendants)
  5           170. Plaintiff hereby incorporates by reference and re-alleges each and
  6    every allegation set forth in each and every preceding paragraph as though fully
  7    set forth herein.
  8           171. Cal. Lab. Code § 2802 requires employers, including Defendants, to
  9    indemnify employees for all necessary expenditures incurred by the employee in
 10    performing her job.
 11           172. As alleged herein, Defendants required Plaintiff, as a condition of her
 12    employment, pay a daily “house fee” and/or “stage fee” of twenty U.S. Dollars
 13    ($20) to forty U.S. Dollars ($40) in order to fulfill Plaintiff’s job duties.
 14           173. As alleged herein, Defendants required Plaintiff, as a condition of her
 15    employment, pay “late fees” and “leave early fees” and any balances from
 16    previous shifts in order to fulfill Plaintiff’s job duties.
 17           174. Such expenditures by Plaintiff are incurred in direct consequence of
 18    the discharge of Plaintiff’s job duties.
 19           175. As a direct and proximate result of Defendants’ failure to reimburse
 20    Plaintiff for these necessary expenditures, Plaintiff has been injured in an amount
 21    to be proved at trial.
 22           176. Plaintiff is, therefore, entitled to recover reimbursement for these
 23    necessary expenditures, and also to recover costs, interest, and attorneys’ fees as
 24    provided by California law.
 25    ///
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             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                             ELEVENTH CAUSE OF ACTION
  2          COMPULSION AND COERCION TO PATRONIZE EMPLOYER AND/OR OTHER
  3                        PERSONS IN VIOLATION OF CAL. LAB. CODE §450
  4                   (By Plaintiff Individually Against All Defendants)
  5           177. Plaintiff hereby incorporates by reference and re-alleges each and
  6    every allegation set forth in each and every preceding paragraph as though fully
  7    set forth herein.
  8           178. Cal. Lab. Code § 450 provides that no employer “may compel or
  9    coerce any employee, or applicant for employment, to patronize his or her
 10    employer, or any other person, in the purchase of anything of value.”
 11           179. As alleged herein, Defendants required Plaintiff to purchase various
 12    fees such as the “house fee,” the “late fee,” and the “leave early fee” from
 13    Defendants and/or other specific persons.
 14           180. As a direct and proximate result of Defendants’ requirement that
 15    Plaintiff purchase anything of value, including the “house fee,” “stage fee,” the
 16    “late fee,” and the “leave early fee” from Defendants and/or other specific
 17    persons, Plaintiff has been injured in an amount to be proved at trial.
 18           181. By requiring Plaintiff to purchase said fees to do her job, Defendants
 19    compelled and coerced Plaintiff to patronize Candy Cat Too.
 20           182. Plaintiff is, therefore, entitled to recover damages, and also to
 21    recover costs, interest, and attorney’s fees as provided by California law.
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 23    ///
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              COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                             TWELFTH CAUSE OF ACTION
  2                          UNFAIR COMPETITION IN VIOLATION OF
  3                        CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
  4                        (By Plaintiff and on behalf of the Collective
  5                                  Against All Defendants)
  6          183. Plaintiff hereby incorporates by reference and re-alleges each and
  7    every allegation set forth in each and every preceding paragraph as though fully
  8    set forth herein.
  9          184. Cal. Bus. & Prof. Code § 17200 defines “unfair competition” to
 10    include any unlawful business practice.
 11          185. Cal. Bus. & Prof. Code §17204 allows a person who has lost money
 12    or property as a result of unfair competition to bring an action for restitution of
 13    money or property acquired from him or her by means of unfair competition.
 14          186. The FLSA prohibits employers to divert any part of an employee’s
 15    wages and overtime wages, including tips and gratuity, to itself.
 16          187. In violation of these requirements, as set forth above, Defendants
 17    violated 29 U.S.C. § 203 by forcing Plaintiff and the FLSA Class Members to
 18    participate in an invalid tip-pool with employees who typically do not receive
 19    tips. Additionally, Defendants forced Plaintiff to use portions of her tip wages to
 20    pay Defendant managers as well as “house fees” and other fees and fines.
 21          188. In violation of these requirements, as set forth above, Defendants
 22    violated 29 U.S.C. § 206 and 29 U.S.C. § 207 by failing to pay Plaintiff and the
 23    FLSA Class Members minimum wages and overtime wages.
 24          189. As a result of Defendants’ above-alleged unlawful business practices,
 25    Plaintiff and the FLSA Class Members have lost monies and property by means
 26    of unfair competition.
 27          190. In violation of these requirements, as set forth above, Defendants
 28    compelled Plaintiff to patronize Candy Cat Too.
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1           191. In violation of these requirements, as set forth above, Defendants
  2    failed to pay Plaintiff overtime wages for hours that she worked.
  3           192. In violation of these requirements, as set forth above, Defendants
  4    failed to pay Plaintiff minimum wages for the hours that she worked.
  5           193. In violation of these requirements, as set forth above, Defendants
  6    failed to indemnify business expenses to Plaintiff.
  7           194. As a result of Defendants’ above-alleged unlawful business practices,
  8    Plaintiff has lost monies and property by means of unfair competition.
  9           195. Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff seeks an order
 10    of restitution for all monies and property that Defendants have acquired from her
 11    by means of unfair competition from the forced tip pooling.
 12           196. Plaintiff is seeking minimum wages, overtime wages, forced tips and
 13    other restitutionary relief under this equitable cause of action for the four years
 14    prior to filing this lawsuit.
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             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                               – 33 –
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  1                               PRAYER FOR RELIEF
  2          WHEREFORE, Plaintiff requests of this Court the following relief:
  3                1. For compensatory damages according to proof at trial of at least
  4                   $100,000 for jurisdictional purposes;
  5                2. For special damages according to proof at trial;
  6                3. For restitution of unpaid monies;
  7                4. For attorneys’ fees;
  8                5. For costs of suit incurred herein;
  9                6. For statutory penalties;
 10                7. For civil penalties;
 11                8. For pre-judgment interest;
 12                9. For post-judgement interest;
 13                10.For general damages in an amount to be proven at trial;
 14                11.For declaratory relief;
 15                12.For injunctive relief; and
 16                13.For such other and further relief as the tribunal may deem just and
 17                   proper.
 18
       Dated: April 29, 2020                             KRISTENSEN LLP
 19
 20                                                      /s/ John P. Kristensen
                                                         John P. Kristensen
 21                                                      Jesenia A. Martinez
 22                                                      Jacob J. Ventura
 23                                                      Attorneys for Plaintiff
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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                             DEMAND FOR JURY TRIAL
  2          Plaintiff hereby demands a trial by jury for all such triable claims.
  3
  4
  5    Dated: April 29, 2020                            KRISTENSEN LLP
  6
                                                        /s/ John P. Kristensen
  7                                                     John P. Kristensen
                                                        Jesenia A. Martinez
  8
                                                        Jacob J. Ventura
  9
 10                                                     Attorneys for Plaintiff

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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                        EXHIBIT 1
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                                                                                                  John P. Kristensen

     r ist e n s e n                    LLP
                                                                                                 Jesenia A. Martinez
                                                                                                    Jacob J. Ventura
ATTORNEYS FOR PLAINTIFFS



                                   CONSENT FORM FORWAGECLAIM

     Printed Name: Noemi Russo


     1.     I consent and agree to be represented by Kristensen LLP, Hughes Ellzey, LLP and Florida
     Legal, LLC to pursue my claims of unpaid overtime and/ or minimum wage and/or improper
     Tip Pooling through the lawsuit filed against my employer under the Fair Labor Standards Act
     and/or applicable state laws.



     2.      I intend to pursue my claim individually, unless and until the court certifies this case as a
     collective or class action. I agree to serve as the class representative if the court approves. If
     someone else serves as the class representative, then I designate the class representatives as my
     agents to make decisions on my behalf concerning the litigation, the method and manner of
     conducting the litigation, the entering of an agreement with the plaintiffs' counsel concerning
     attorney's fees and costs. and all other matters pertaining to this lawsuit.




     3.     If my consent form is stricken or if I am for any reason not allowed to participate in this
     case, I authorize Plaintiffs' counsel to use this Consent Form tore-file my claims in a separate or
     related action aga inst my employer.


     (Signature) NoeM  (Jan 23, zozo)               (Date Signed)   Jan 23, 2020
                 Noem 1Russo




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